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MINUTE ENTRY
VITTER, J.
JULY 20, 2022
JS10, 1:00
                     UNITED STATES DISTRICT COURT

                     MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL.                                CIVIL ACTION

VERSUS                                            NO. 21-242-WBV-SDJ

LOUISIANA STATE UNIVERSITY, ET AL.


        TELEPHONE STATUS CONFERENCE REPORT and ORDER
      On July 20, 2022, at the Court’s request, the Court held a Telephone Status

Conference in this matter.

      PRESENT:

            Elizabeth K. Abdnour, Endya Hash, Karen Truszkowski
            Counsel for Plaintiffs, Abby Owens, Kennan Johnson, Samantha
            Brennan, Elisabeth Andries, Jade Lewis, Calise Richardson, Ashlyn
            Robertson, Corinn Hovis, Sarah Beth Kitch, Jane Doe, Other
            Unidentified Does

            Susan W. Furr, Molly C. McDiarmid
            Counsel for Defendant, Board Of Supervisors for Louisiana State
            University and Agricultural and Mechanical College

            Dennis J. Phayer
            Counsel for Defendant, Jennie Stewart

            Darren A. Patin
            Counsel for Defendant, Verge Ausberry

            John C. Walsh, Jeffrey K. Cody
            Counsel for Defendant, Miriam Segar

            William F. Large
            Counsel for Defendant, Jonathan Sanders
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        During the conference, the Court discussed with counsel the status of the case

and concerns raised by defense counsel regarding the Court’s oral order during the

July 6, 2022 telephone status conference, resetting Plaintiffs’ expert report deadline

for September 1, 2022. (See, R. Doc. 238). The Court notes that these concerns were

raised by defense counsel in a recent telephone status conference held in the

companion case, Sharon Lewis v. Louisiana State University, et al., Civ. A. No. 21-

198-SM-RLB (M.D. La.) (the “Lewis matter”). After a discussion with counsel, it

became apparent to the Court that there was some confusion regarding the following

language contained in a minute entry issued in the Lewis matter on December 20,

2021:

        The parties discussed case management procedures to be used in this
        case in light of the Owens, et al. v. Louisiana State University, et al.
        (Case No. 21-242) action, also pending in the Middle District of
        Louisiana and involving many of the same issues and parties as this
        case. The Court informed the parties it has discussed case management
        issues with the judge presiding in Owens. The judges presiding in both
        cases agree the parties should use identical BATES stamp numbers for
        all documents produced in this action and in Owens. The judges in both
        cases also agree that depositions taken in either action may be used in
        both actions, unless the judge in either action orders otherwise after a
        motion filed and a showing of good cause.

(R. Doc. 169 at p. 2 in the Lewis matter). The Court reviewed the minute entry with

counsel, who voiced no objections to the case management protocol cited above.

As a result of that discussion, the Court issued an oral Order requiring counsel to

meet and confer with counsel in the Lewis matter and to send a joint, proposed

amended       scheduling    order    to    the   Court’s     email   address,      efile-

Vitter@laed.uscourts.gov, by Tuesday, August 2, 2022, providing new pre-trial
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deadlines beginning with Plaintiffs’ expert report deadline, but maintaining the

Court’s June 26, 2023 trial date and June 1, 2023 Final Pretrial Conference date.

(See, R. Doc. 238). The Court also issued an oral Order setting a telephone status

conference for Wednesday, August 3, 2022 at 1:30 p.m. (CST) to discuss the joint,

proposed amended scheduling order submitted by counsel.

       The Court further clarified that the July 20, 2022 deadline for Plaintiffs to

disclose to the Defendants the names of all of their experts, set forth in the Court’s

July 6, 2022 Telephone Status Conference Report an Order (R. Doc. 238), remains

in effect, and that Plaintiffs shall file that list into the record in this matter.

       Accordingly,

       IT IS HEREBY ORDERED that counsel shall meet and confer with counsel

in the Lewis matter and send a joint, proposed amended scheduling order to the

Court’s email address, efile-Vitter@laed.uscourts.gov, by Tuesday, August 2, 2022,

which should begin with Plaintiffs’ expert report deadline.

       IT IS FURTHER ORDERED that a telephone status conference is scheduled

for Wednesday, August 3, 2022 at 1:30 p.m. (CST) to discuss the joint, proposed

amended scheduling order submitted by counsel.
       New Orleans, Louisiana, July 20, 2022.


                                          ______________________________
                                          WENDY B. VITTER
                                          United States District Judge
